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DISTRICT COURT, EL PASO COUNTY, COLORADO

Court Address:                                       DATE FILED: May 4, 2018 11:50 AM
270 S. Tejon Street                                  FILING ID: 63DB167EA17D3
Colorado Springs, CO 80903                           CASE NUMBER: 2018CV31095
Telephone: (719) 452-5000
Plaintiff:  GARY FAVER

v.                                                   ▲COURT USE ONLY▲

Defendant: ALLSTATE FIRE AND CASUALTY
INSURANCE COMPANY, an Illinois corporation
Attorney for Plaintiff
Patric J. LeHouillier, #7984
Franklin D. Azar & Associates, P.C.                  Case Number:
5536 Library Lane
Colorado Springs, CO 80918                           Division:
Phone Number: (719)527-8000
Fax Number: (719) 550-3926
E-Mail: lehouillierp@fdazar.com


                                   COMPLAINT


     Comes now the Plaintiff, Gary Faver, by and through his attorneys, Franklin
D. Azar & Associates P.C., and submits the following for his Complaint:

                         I JURISDICTION AND VENUE

1.     Plaintiff Gary Faver is a resident of El Paso County. His residence address
is 129 Judson Street, Colorado Springs, Colorado 80911.

2.     Defendant Allstate Fire and Casualty Insurance Company (“Allstate”) is an
Illinois corporation. It is an insurance company authorized to do business in the
state of Colorado.

3.     This action is for breach of contract, bad faith breach of contract and
statutory unreasonable delay. All of the actions which gave rise to this Complaint
occurred via correspondence and telephonic communication which either emanated
from or were directed to individuals in El Paso County. Venue appropriately lies
in El Paso County per Rule 98(c) of the Colorado Rules of Civil Procedure.




                                       EXHIBIT A
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                         II GENERAL ALLEGATIONS

4.    This case arises out of the Defendant’s failure to pay underinsured motorist
coverage benefits pursuant to an automobile policy.
5.   Plaintiff Gary Faver was injured in a motor vehicle collision which occurred
on March 29, 2017.
6.     The crash occurred near the intersection of Main Street and Security
Boulevard in Colorado Springs. The Plaintiff was driving eastbound on Main
Street. Ricardo Ornela was leaving the 7-11 parking lot at the corner making a left
turn onto Main Street. As he was making his left turn, Mr. Ornela crashed into the
front of Plaintiff’s truck.
7.     Mr. Ornela was intoxicated at the time of the crash. He failed to yield the
right-of-way. He drove recklessly and carelessly. It was Mr. Ornela’s negligence
which resulted in the crash.
8.    A copy of the police report is attached as Exhibit A.
9.  Plaintiff Gary Faver was taken from the scene of the crash by ambulance to
Memorial Hospital. He sustained multiple injuries, primarily to his low back.
10. Plaintiff Gary Faver incurred damages and losses associated with his injuries
including medical and hospital expenses, loss of earnings and earning capacity,
great pain and suffering and a loss of enjoyment of life.
11. With respect to his earnings, Mr. Faver, who is a roofing contractor, had to
hire an employee to do manual labor which the Plaintiff would have done himself
but for his injuries.
12. Plaintiff’s injuries have left him permanently impaired. His damages and
losses will continue, to some extent at least, throughout the balance of his life.
13. At the time of the collision, Mr. Ornela was insured by Permanent General
Assurance Company. He had bodily injury liability limits of $25,000.00 per
person.
14. In November of 2017, Plaintiff settled with Mr. Ornela’s insurance company
for the policy limits of $25,000.00.
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15. Prior to finalizing the settlement, Plaintiff sought and received Defendant
Allstate’s permission to settle with Mr. Ornela and his insurance company for Mr.
Ornela’s policy limits of $25,000.00.
16. At the time of the collision, Plaintiff Gary Faver was insured by an
automobile policy with Allstate Insurance Company. The Allstate policy included
underinsured motorist coverage with limits of $100,000.00 per person.
17. Plaintiff made a claim with Allstate to recover underinsured motorist
benefits.
18. Despite the fact that Plaintiff has special damages in excess of $35,000.00,
Allstate offered only $2,000.00 to resolve the underinsured motorist claim.
19.   Allstate never made a Fisher payment to its insured.


                        III FIRST CLAIM FOR RELIEF
                           BREACH OF CONTRACT

20. Plaintiff reiterates as though restated in full, those allegations set forth in
paragraphs 1 through 19 of this Complaint.

21.   Defendant Allstate has breached its insurance policy contract to Plaintiff.

22. Moreover, Defendant Allstate has failed to adhere to its statutory obligations
as construed in Fisher v. State Farm, 13CA2361; Allstate has not paid undisputed
amounts including the medical expenses and loss of earnings sustained by Mr.
Faver.

23. Plaintiff has incurred injuries, damages and losses as a consequence of the
Defendant’s breach of its contractual obligation to him.

               IV SECOND CLAIM FOR RELIEF
   STATUTORY BAD FAITH CLAIM UNDER § 10-3-1115 AND 10-3-1116
      AGAINST DEFENDANT ALLSTATE FIRE AND CASUALTY
                   INSURANCE COMPANY

24. Plaintiff reiterates as though restated in full, those allegations set forth in
paragrahs 1 through 23 of this Complaint.
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25. Defendant Allstate has denied and/or delayed payment of benefits to
Plaintiff Faver without a reasonable basis for doing so.

26. Defendant Allstate’s unreasonable position and conduct has caused Plaintiff
damage by the loss of the compensation that is due to him and which Defendant
Allstate should have previously paid to Plaintiff.

27. In accordance with C.R.S. §10-3-1116, Plaintiff is entitled to recover twice
the covered benefits under the policy, plus reasonable attorney’s fees and court
costs from Defendant Allstate.

28. Defendant Allstate’s actions and omissions have been perpetrated with
wanton and willful disregard for Plaintiff’s rights and well-being, thereby entitling
Plaintiff to an award of punitive and exemplary damages in an amount to be
determined by a jury.

                V THIRD CLAIM FOR RELIEF
   COMMON LAW INSURANCE BAD FAITH AGAINST DEFENDANT
     ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY

29. Plaintiff reiterates as though restated in full, those allegations set forth in
paragraphs 1 through 28 of this Complaint.

30. Defendant Allstate owed Plaintiff a duty to act in good faith in reviewing,
adjusting, and settling his claims.

31. Defendant Allstate breached its duties to its insured, and acted in bad faith,
through its conduct as described above. Specific instances of Defendant Allstate’s
bad faith include, but are not limited to, the following actions and omissions:

          a. Compelling Plaintiff to institute litigation to recover benefits owed
             under the underinsured motorist bodily injury benefits afforded to him
             by the insurance policy;
          b. Favoring the interests of Defendant Allstate, an insurer, over those of
             Plaintiff, the insured, to whom Allstate owes fiduciary and statutory
             duties;

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         c. Refusing or delaying payment of reasonable compensation for the
            injuries, damages, and losses Plaintiff suffered at the hands of an
            underinsured motorist;
         d. Incompetently evaluating Plaintiff’s claims.

32.   Defendant Allstate’s actions have been unreasonable.

33. Defendant Allstate knew its conduct was unreasonable, and/or disregarded
the fact that its conduct was unreasonable.

34. Defendant Allstate’s breaches of its duties to Plaintiff, its insured, have
caused him to suffer damages including, but not limited to, the following:

         e. Being forced to incur additional costs in litigation;

         f. Enduring emotional trauma of being unnecessarily involved in a
            lawsuit with Allstate;

         g. Being deprived of the use of funds owed to Plaintiff which should
            have been paid by now, and his credit impaired by debt collection.

35. Defendant Allstate’s actions and omissions have been perpetrated with
wanton and willful disregard for Plaintiff’s rights and well-being, thereby entitling
Plaintiff to an award of punitive and exemplary damages in an amount to be
determined by a jury.

       WHEREFORE, Plaintiff respectfully requests this Court enter judgment
against Defendant and in his favor for all damages in an amount to be determined
at the time of trial, pre-judgment interest from the date of the accident, post-
judgment interest, costs, expert witness fees, attorney’s fees, statutory treble
damages, punitive and exemplary damages, and for such other and further relief
as this Court deems proper.
      Respectfully submitted this 4th day of May, 2018.




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                                  FRANKLIN D. AZAR & ASSOCIATES, P.C.
                                  Pursuant to C.R.C.P. 121 § 1-29(9), original is duly signed
                                  and on file at the office of Franklin D. Azar & Associates,
                                  P.C., and will be made available for inspection by other
                                  parties of the Court upon request.

                                  s/Patric J. LeHouillier
                                  Patric J. LeHouillier, #7984
                                  ATTORNEY FOR PLAINTIFF
Plaintiff’s Address:
129 Judson Street
Colorado Springs, CO 80911




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